                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )    CASE NO. 1:11-00010-3
                                                     )    JUDGE SHARP
LARRY BLY                                            )
                                                     )

                                           ORDER


       Pending before the Court is Defendant’s Motion to Set Change of Plea Hearing (Docket

No. 176).

       The motion is GRANTED and a hearing on a plea of guilty in this matter is hereby

scheduled for Friday, April 25, 2014, at 1:30 p.m.

       It is so ORDERED.




                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




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